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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 UNITED STATES OF AMERICA                     §                              Case 3-18-cr-356-S
                                              §
                                              §
                                              §
 v.                                           §
                                              §
 THOMAS D. SELGAS (1)                         §
 MICHELLE L. SELGAS (2)                       §
 JOHN GREEN (3)                               §


               DEFENDANT’S REQUEST FOR LIMITING INSTRUCTION


TO THE HONORABLE COURT:

       COMES NOW, JOHN GREEN (“Defendant” or “Green”), through his attorneys of record,

and submits the following:

       Pursuant to Federal Rule of Evidence 105 Green requests that the following limiting

instruction be given to the jury when evidence is presented that is not admissible against John

Green. “The jury will be instructed that this witness's testimony does not apply to Defendant

Green.”

       Without hearing the testimony or knowing how the Government will use each exhibit

Green anticipates a limiting instruction for the following government exhibits: 1-10, 15-29, 41-

43, 45-54, 57-59, 61, 63-69, 71-72, 74-78, 82, 84-96, 98, 100-103, 190-192, 194-211, 213-216,

234, 249-251, 258-260, 308-311. As the testimony is presented there may be other requests for

limiting instructions.




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       Without hearing the testimony or knowing how the other Defendants will use their exhibits.

Green might request the same limiting instructions for Defendant Tom Selgas’ exhibits and

Michelle Selgas’ exhibits.

        Respectfully submitted on December 26, 2019.

                                             MINNS & ARNETT

                                             /s/ Michael Louis Minns
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                                CERTIFICATE OF SERVICE

       This is to certify that on this the 26th day of December 2019, a true and correct copy of the

above and foregoing instrument was served upon all counsel of record.



                                             /s/ Ashley Blair Arnett
                                             Ashley Blair Arnett




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